                                                          IT IS ORDERED

                                                          Date Entered on Docket: July 14, 2022




                                                          ________________________________
                                                          The Honorable David T. Thuma
                                                          United States Bankruptcy Judge
______________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW MEXICO

       In Re:

       MATTHEW J. DOMINGUEZ and
       OLIVIA D. DOMINGUEZ,
                                                              Chapter 13
                Debtors.                                      Case No. 19-10880-t13

                                STIPULATED ORDER OF DISMISSAL
                               OF MOTION FOR RELIEF FROM STAY

                THIS MATTER coming before the Court upon Motion for Relief from Automatic

       Stay (Doc. 60) of First Financial Credit Union (“First Financial”), secured creditor herein;

       First Financial was represented by its attorney, Deborah S. Seligman LLC (Deborah S.

       Seligman) and Debtors Matthew J. Dominguez and Olivia D. Dominguez (collectively

       “Debtors”) were represented by their attorney, Christopher L. Trammell; and the Court after

       reviewing the record, the Stipulated Order of Dismissal and noting the stipulation of the

       parties to dismissal; and being otherwise fully advised in the premises;

                FINDS:



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                    1. The parties have resolved all matters between them and have stipulated to

     dismissal of the Motion for Relief from Automatic Stay by First Financial.

            IT IS THEREFORE ORDERED that the Motion for Relief from Automatic Stay by

     First Financial be and hereby is dismissed and the hearing scheduled for July 19, 2022 at

     1:30 p.m. be and hereby is vacated.

                                     ### END OF ORDER ###

     APPROVED:


     DEBORAH S. SELIGMAN, LLC

     /s/ Submitted Electronically
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